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PS 8
(12/04)

                            UNITED STATES DISTRICT COURT

                                              for the
                                      District of New Jersey



U.S.A. vs. Li, Jason                                                     Docket No. 16-6041M-O01

                         Petition for Action on Conditions of Pretrial Release


         COMES NOW MERTICE EVANS PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant Li, Jason who was placed under pretrial release
supervision by the HONORABLE Steven C. Mannion sitting in the Court at Newark, New
Jersey, on April 5, 2016, under the following conditions:

 1) $50,000 unsecured appearance bond;
 2) Pretrial Services supervision;
 3) Surrender all passports and travel documents to Pretrial Services. Do not apply for new
    travel documents;
 4) Travel restricted to the continental of the United States.


          Respectfully presenting petition for action of Court and for cause as follows:

                                  [SEE ATTACHED ADDENDUMJ


PRAY1NG THAT THE COURT WILL ORDER THAT BAIL BE MODIFIED TO INCLUDE
MENTAL HEALTH TESTING AND TREATMENT.

  ORDER Of COURT                                     I declare under penalty of perjury that the
                                                     foregoing is true and correct.
  Considered and ordered this               day
  of    54-c’L, .&t( and ordered filed               Executed
  and made a part of the records in the above        on
  case.


  Honorable even C. Mannion                          Mertice Evans
  U.S. Magistrate Judge                              U.S. Pretrial Services Officer
